Case 15-16630-elf        Doc 38    Filed 03/05/19 Entered 03/05/19 14:52:56         Desc Main
                                   Document      Page 1 of 2


                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
In re:                                               :       Chapter 13
                                                     :
         BRENDA VIRUET,                              :       Case No. 15-16630 (ELF)
                                                     :
                        Debtor                       :
                                                     :

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned appears in the above-captioned Chapter

13 case as counsel to TruMark Financial Credit Union and, pursuant to Rules 2002 and 9010(b)

of the Federal Rules of Bankruptcy Procedure, hereby requests that all notices given or required

to be given and all papers served or required to be served in this Chapter 13 case be delivered

and served upon such party at the address of its counsel as set forth below:

                   Corinne Samler Brennan, Esquire
                   KLEHR | HARRISON | HARVEY | BRANZBURG LLP
                   1835 Market Street, Suite 1400
                   Philadelphia, PA 19103
                   Phone: (215) 569-3393
                   Fax: (215) 568-6603
                   Email: cbrennan@klehr.com

         PLEASE TAKE FURTHER NOTICE that the foregoing demand includes all notices and

pleadings referred to in the above-mentioned Federal Rules of Bankruptcy Procedure, together

with all orders and notices of applications, motions, petitions, pleadings, complaints or other

documents which in any way affect the debtor or her property.

         The foregoing demand includes not only the notices and papers referred to in the

Bankruptcy Rules specified above, but also includes, without limitation, any notice, application,

complaint, demand, motion, petition, pleading or request, whether formal or informal, written or




PHIL1 7663420v.1
Case 15-16630-elf      Doc 38     Filed 03/05/19 Entered 03/05/19 14:52:56           Desc Main
                                  Document      Page 2 of 2


oral, and whether transmitted or conveyed by mail, delivery, telephone, telecopy, telegraph, telex

or otherwise filed or made with regard to the above-referenced case and all proceedings therein.


Dated: March 5, 2019                                KLEHR | HARRISON | HARVEY|
                                                    BRANZBURG LLP

                                             By:    /s/Corinne Samler Brennan
                                                    Corinne Samler Brennan, Esquire
                                                    1835 Market Street, Suite 1400
                                                    Philadelphia, PA 19103
                                                    Telephone: (215) 569-3393

                                                    Counsel to TruMark Financial Credit Union




PHIL1 7663420v.1
